Case 16-31683      Doc 111     Filed 06/23/17     Entered 06/23/17 12:44:56        Page 1 of 10




                        UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF CONNECTICUT

IN RE:                                              )      No. 16-31683

Small, Leigh and Amy                                )      Chapter 7

    Debtors                                         )      June 23, 2017

                 NOTICE OF CONTESTED MATTER RESPONSE DATE

         Debtors have filed a Motion to Extend Time to file a Nondischargeability Complaint

and Object to Discharge (the “Contested Matter”) with the U.S. Bankruptcy Court. Notice is

hereby given that any response to the Contested Matter must be filed with the Court no later

than July 7, 2017. In the absence of a timely filed response, the proposed order in the Contested

Matter may enter without further notice and hearing, see, 11 U.S.C. § 102(1).


                                                    NEIGHBORHOOD HOUSING
                                                    SERVICES OF NEW HAVEN, INC.

                                                    ___________/s/________________
                                                    Scott M. Charmoy, Esq. CT15889
                                                    Charmoy & Charmoy
                                                    1700 Post Road, Suite C-9
                                                    Fairfield, CT 06824
                                                    (203) 255-8100
                                                    scottcharmoy@charmoy.com




*Pursuant to Federal Rule of Bankruptcy Procedure 9006(f), if service is made by mail, three
days are added after the response date set in this notice.
Case 16-31683       Doc 111     Filed 06/23/17    Entered 06/23/17 12:44:56        Page 2 of 10




                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF CONNECTICUT

IN RE:                                              )      No. 16-31683

Small, Leigh and Amy                                )      Chapter 7

    Debtors                                         )      June 23, 2017

  MOTION TO EXTEND TIME TO FILE NONDISCHARGEABILITY COMPLAINT
                    AND OBJECT TO DISCHARGE

         Neighborhood Housing Services of New Haven, Inc., (“Movant”) hereby respectfully

 moves to extend the time to file a nondischargeability complaint and to object to the Debtors’

 discharge to October 31, 2017 as follows:

         1.     Debtors filed the instant case on October 31, 2016. Movant sought and received

 an extension of time to file a nondischargeability complaint and objections to discharge to May

 1, 2017.

         2.     On or about July 31, 2013, Movant retained Advanced Construction

Technologies, Inc. (“Advanced Construction”) to perform construction services at a property

known as 15 Lilac Street, New Haven, CT. On or about March of 2015, Advanced Construction

walked off the job with no explanation. Movant was forced to hire a replacement contractor to

complete the job, at substantial expense. Advanced Construction also failed to pay certain

subcontractors, which Movant then had to pay.

         3.     Movant sued Advanced Construction in the Superior Court, J.D. of New Haven at

New Haven, case captioned Neighborhood Housing Services of New Haven, Inc. vs. Advanced

Construction Technologies, Inc., No. NNH-CV-XX-XXXXXXX-S, and on May 6, 2016 obtained a

judgment in the amount of $300,498.40.

         4.     Debtor owns a 50% in an entity that holds a 50% interest in Advanced
Case 16-31683       Doc 111     Filed 06/23/17      Entered 06/23/17 12:44:56         Page 3 of 10




Construction. Debtor’s brother, Bruce Small, holds the other 50% in that entity. An individual

named Yul Wately owns the other 50% of Advanced Construction.

       5.      According to the Debtor’s schedules, neither Advanced Construction nor the

entity holding that 50% interest has any value.

       6.      In order to investigate Advanced Construction’s affairs, and to determine if

Movant had any causes of action against Debtor, Movant sought and obtained orders from this

Court allowing it to conduct Rule 2004 examinations of the above three individuals. The orders

authorizing the Rule 2004 examinations of Wately and Bruce Small were granted on April 7th.

       7.      Due to the nature and extent of the documents sought and the scheduling conflicts

that have already arisen and are likely to arise with the subjects of the examination and their

counsel, Movant will not be able to complete the examinations and digest the information in

sufficient time to determine whether a cause of action against the Debtor exists by the current

May 1, 2017 deadline.

       8.      As a result, Movant sought an extension of the objection to

discharge/nondischargeability complaint deadline to June 30, 2017.

       9.      Debtor objected to NHS’ above referenced motions for examination, as well as its

motion to extend time to object to the Debtor’s discharge and file a nondischargeability action

and its motion to extend time to file a proof of claim. The matter was heard before the court on

June 14, 2017, and is under advisement.

       10.     Due to the fact this matter is under advisement, and due to the nature and extent of

the documents sought and the scheduling conflicts that have already arisen and are likely to arise

with the subjects of the examination and their counsel, Movant will obviously not be able to

complete the examinations and digest the information in sufficient time to determine whether a
Case 16-31683       Doc 111     Filed 06/23/17     Entered 06/23/17 12:44:56       Page 4 of 10




cause of action exists against the Debtor by the June 30, 2017 deadline proposed in its second

Motion to extend time.

       11.     Accordingly, NHS moves to extend the time to object to Debtor’s discharge and

file a nondischargeability action to October 31, 2017.

       12.     Pursuant to Local Rule 7(b), undersigned counsel reports it has sought Debtors’

counsel’s position on this motion, who objects to this motion.

       WHEREFORE, Movant respectfully moves to extend the bar date to file a

 nondischargeability complaint under §523(a) and to file an objection to the Debtors’ discharge

 under §727 to October 31, 2017, and for any other relief deemed just and equitable.



                                                     NEIGHBORHOOD HOUSING
                                                     SERVICES OF NEW HAVEN, INC.

                                                     ___________/s/_______________
                                                     Scott M. Charmoy, Esq. CT15889
                                                     Charmoy & Charmoy
                                                     1700 Post Road, Suite C-9
                                                     Fairfield, CT 06824
                                                     (203) 255-8100
                                                     scottcharmoy@charmoy.com
Case 16-31683       Doc 111     Filed 06/23/17    Entered 06/23/17 12:44:56         Page 5 of 10




                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF CONNECTICUT

IN RE:                                              )       No. 16-31683

Small, Leigh and Amy                                )       Chapter 7

    Debtors                                         )

                                            ORDER

         The foregoing Motion to Extend the deadline to file a Nondischargeability Complaint and

 to Object to Discharge, having been presented to this Court, is hereby GRANTED, and it is

 further ORDERED, that Neighborhood Housing Services of New Haven, Inc.’s deadlines to

 file a nondischargeability complaint under §523(a) and to file an objection to the Debtors’

 discharge under §727 are hereby extended to October 31, 2017.
Case 16-31683        Doc 111     Filed 06/23/17     Entered 06/23/17 12:44:56         Page 6 of 10




                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF CONNECTICUT

IN RE:                                                )       No. 16-31683

Small, Leigh and Amy                                  )       Chapter 7

    Debtors                                           )       June 23, 2017

                                        CERTIFICATION

         This is to certify that on the above date a copy of the Notice of Contested Matter

 Response Date, Motion to Extend Time to file Nondischargeability Complaint and Object to

 Discharge, and Proposed Order were served by first class mail, postage prepaid, upon the

 creditor body and parties entitled to notice as set forth below. Parties with electronic

 appearances, including the United States Trustee’s Office, were served pursuant to the Court’s

 ECF/CM system.



                                                      NEIGHBORHOOD HOUSING
                                                      SERVICES OF NEW HAVEN, INC.


                                                      ___________/s/________________
                                                      Scott M. Charmoy, Esq. CT15889
                                                      Charmoy & Charmoy
                                                      1700 Post Road, Suite C-9
                                                      Fairfield, CT 06824
                                                      (203) 255-8100
                                                      scottcharmoy@charmoy.com
Case 16-31683      Doc 111    Filed 06/23/17   Entered 06/23/17 12:44:56      Page 7 of 10




                     LIST OF CREDITORS AND TAXING AUTHORITIES

S Squared Development                          2100 Whitney Avenue LLC
Attn: Pres, Gen Mgr. or Acct Rep               c/o FPJ Investments LLC
30 Hazel Terrace, Suite 10                      Attn: Pres, Gen Mgr. or Acct Rep
Woodbridge, CT 06525                           105 Sanford St
                                               Hamden, CT 06514

Aaron Askew                                    Advanced Construction Technologies
579 Third Avenue                               Attn: Pres, Gen Mgr. or Acct Rep
West Haven, CT 06516                           25 Palmieri Drive
                                               New Haven, CT 06515

Alphabet Academy LLC                           Amity Physical Therapy LLC
Attn: Pres, Gen Mgr. or Acct Rep               Attn: Pres, Gen Mgr. or Acct Rep
605 Benham St                                  228 Whitney Ave
Hamden, CT 06514                               Hamden, CT 06518

Bank of America
PO Box 982238                                  Century Financial Services Inc.
Attn: President, Secretary or Mng Agent        Attn: :President, Secretary or Mng Agent
El Paso, TX 79998                              23 Maiden Lane
                                               North Haven, CT 06473

Barrett Couden                                 Bruce Small
128 Skyview Circle                             63 Henry Street
Hamden, CT 06514                               Fairfield, Ct 06824

Zullo & Jacks Law Office                       Chatham Land Development LLC
Attn: President, Secretary or Mng Agent        Attn: :President, Secretary or Mng Agent
83 Main St                                     PO Box 185268
East Haven, CT 06512                           Hamden, CT 06518


Connecticut Orthopedic Specialist              Yul Wately
Attn: President, Secretary or Mng Agent        25 Palmeri Drive
84 N Main St                                   New Haven, CT 06515
Branford, CT 06405

Crystal Property Managers LLC                  Crystal Property Restoration LLC
Attn: President, Secretary or Mng Agent        Attn: President, Secretary or Mng Agent
128 Skyview Circle                             30 Hazel Terr., Suite 26
Hamden, CT 06514                               Woodbridge, CT 06525

Department of Revenue Services                 Dutch Wharf Boat & Marina Inc.
Collections Unit Bankruptcy Team               Attn: President, Secretary or Mng Agent
450 Columbus Blvd, Ste 1                       70 Maple Street
Hartford, CT 06103                             Branford, CT 06405
Case 16-31683      Doc 111      Filed 06/23/17   Entered 06/23/17 12:44:56      Page 8 of 10




Earl D. Geyer Jr. and April Geyer                Ford Motor Credit
62 Benham Hill Place                             Attn: President, Secretary or Mng Agent
Hamden, CT 06514                                 PO Box 62180
                                                 Colorado Springs, CO 80962-2180

Frank Perrotti Jr.                               George Koutroumanis
105 Sanford St                                   15 Rollin Road
Hamden, CT 06514                                 Woodbridge, CT 06525



Attn.: Gerald P Ryan, Trustee                    Golfcrest Development LLC
National Lumber Inc.                             Attn: President, Secretary or Mng Agent
270 East Main St                                 30 Hazel Terrace
Branford, CT 06405                               Suite 10
                                                 Woodbridge, CT 06525

Internal Revenue Service                         J Crew/Comenity Bank
Centralized Insolvency Operations                Attn: President, Secretary or Mng Agent
P.O. Box 7346                                    PO Box 659704
Philadelphia PA 19101-7346                       San Antonio, TX 78265

Jo Max Recovery Services                         Joshua Brown
Attn: President, Secretary or Mng Agent          7 South Main St
9242 W Union Hills Drive, Suite 102              Branford, CT 06405
Peoria, AZ 85382

Keybank/AES                                      L&A Development LLC
Attn: President, Secretary or Mng Agent          Attn: President, Secretary or Mng Agent
PO Box 61047                                     128 Skyview Circle
Harrisburg, PA 17106                             Hamden, CT 06514

Law Office of W Martyn Philpot, Jr LLC           Lenox Builders LLC
409 Orange St                                    Attn: President, Secretary or Mng Agent
New Haven, CT 06511                              30 Hazel Terrace, Suite 10
                                                 Woodbridge, CT 06525

Lyon & Billard Co.                               Michael and Holly Benedetti
Attn: President, Secretary or Mng Agent          128 Skyview Circle
995 Washington St                                Hamden, CT 06518
Middletown, CT 06457

Naugatuck Valley Savings and Loan                NCB Management Services Inc.
Attn: President, Secretary or Mng Agent          Attn: President Secretary of Mng Agent
333 Church St                                    PO Box 1099
Naugatuck, CT 06770                              Langhorne, PA 19047

Neighborhood Housing Services                    Nelnet
Case 16-31683      Doc 111    Filed 06/23/17   Entered 06/23/17 12:44:56      Page 9 of 10




Attn: President, Secretary or Mng Agent        Attn: President, Secretary or Mng Agent
333 Sherman Ave                                PO Box 82561
New Haven, CT 06511                            Lincoln, NE 68501

Yolin & Perzin LLC                             Nordstrom Bank
Attn: President, Secretary or Mng Agent        Attn: President, Secretary or Mng Agent
12 Trumbull St                                 PO Box 6555
New Haven, CT 06511                            Englewood, CO 80155

PC Richards & Son/ Synchrony Bank              Platte River Insurance Co
Attn: President, Secretary or Mng Agent        Attn: President, Secretary or Mng Agent
PO Box 960061                                  1600 Aspen Commons
Orlando, FL 32896                              Middleton, WI 53562

Primary Residential Mortgage Inc.              Restoration Hardware
Attn: President, Secretary or Mng Agent        Comenity Bank
PO Box 593                                     Attn: President, Secretary or Mng Agent
Salt Lake City, UT 84110                       PO Box 182273
                                               Columbus, OH 43218
Rogin Nassau LLC City Place I                  Seterus Inc.
Attn: President, Secretary or Mng Agent        Attn: President, Secretary or Mng Agent
185 Asylum St, 22nd Fl                         PO Box 1077
Hartford, CT 06103                             Hartford, CT 06143

Sheffield Financial                            TD Bank NA
Attn: President, Secretary or Mng Agent        Attn: President, Secretary or Mng Agent
PO Box 580229                                  PO Box 9547
Charlotte, NC 28258                            Portland, ME 04112

                                               Trans-Continental Credit & Collection
TJX Rewards / Syncs                            Attn: President, Secretary or Mng Agent
Attn: President, Secretary or Mng Agent        PO Box 5055
PO Box 530948                                  White Plains, NY 10602
Atlanta, GA 30353

Wells Fargo Card Services                      Wolf Horowitz & Etlinger LLC
Attn: President, Secretary or Mng Agent        Attn: President, Secretary or Mng Agent
PO Box 6412                                    99 Pratt St
Carol Stream, IL 60197                         Hartford, CT 06103


Yale New Haven Hospital
Attn: President, Secretary or Mng Agent
20 York St
New Haven, CT 06510
Case 16-31683     Doc 111     Filed 06/23/17   Entered 06/23/17 12:44:56    Page 10 of 10




                   PARTIES WHO RECEIVE ELECTRONIC NOTICE

Office of The United States Trustee       Kara Rescia, Esq. Trustee
150 Court St.                             Rescia, Katz & Shear, LLP
Room 302                                  5104A Bigelow Commons l
New Haven, CT 06510                       Enfield, CT 06082

Lucas Bennett Rocklin, Esq.               Patricia Davis, Esq.
Neubert Pepe & Monteith PC                Marinosci Law Group
195 Church St., 13th Floor                275 West Natick Road
New Haven CT 06510                        Warwick, RI 02886
For Creditor Liberty Bank                 For Creditor NationStar Mortgage, LLC


Lauren McNair, Esq.
Jeffrey M. Sklarz, Esq.
Green & Sklarz LLC
243 Tresser Blvd, 17th Floor
Stamford, CT 06901
For Debtors Amy Small and Leigh Small
